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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:14CR3033
      vs.
                                                                  ORDER
TALEB S. KHALAF,
                    Defendant.


      Defendant has moved to continue the pretrial motion deadline, (filing no. 16),
because the defendant and defense counsel need additional time to fully review the
discovery received before deciding if pretrial motions should be filed. The motion to
continue is unopposed. Based on the showing set forth in the motion, the court finds the
motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant’s motion to continue, (filing no. 16), is granted.

      2)     Pretrial motions and briefs shall be filed on or before March 23, 2015.

      3)     Trial of this case is continued pending resolution of any pretrial motions
             filed.

      4)     The ends of justice served by granting the motion to continue outweigh the
             interests of the public and the defendant in a speedy trial, and the additional
             time arising as a result of the granting of the motion, the time between
             today’s date and March 23, 2015, shall be deemed excludable time in any
             computation of time under the requirements of the Speedy Trial Act,
             because despite counsel’s due diligence, additional time is needed to
             adequately prepare this case for trial and failing to grant additional time
             might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

      January 23, 2015.

                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
